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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


DZHULIYA DASHTAMIROVA,


                         Plaintiff,

            v.
                                                  No. 1:23-cv-681-ABJ
UNITED STATES OF AMERICA,

                               Defendant.




                                            NOTICE
       The parties file this Notice to inform the Court that they have reached an agreement-in-

principle to settle this matter. They will work in good faith to finalize the agreement prior to the

August 21 deadline for the conclusion of the mediation period. By that date, they will inform the

Court of the status of those efforts, consistent with its May 24, 2023 Minute Order.

Dated: July 21, 2023                                 Respectfully submitted,
                                                     /s/ Michael Perloff
                                                     Michael Perloff (D.C. Bar No. 1601047)
                                                     Scott Michelman (D.C. Bar No. 1006945)
                                                     Arthur B. Spitzer (D.C. Bar No. 235960)
                                                     American Civil Liberties Union Foundation
                                                       of the District of Columbia
                                                     915 15th Street NW, Second Floor
                                                     Washington, DC 20005
                                                     (202) 457-0800
                                                     mperloff@acludc.org

                                                     Counsel for Plaintiff




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                     BRIAN M. BOYNTON
                     Principal Deputy Assistant Attorney General
                     Civil Division

                     /s/ James R. Whitman
                     JAMES R. WHITMAN (D.C. Bar No. 987694)
                     Trial Attorney
                     United States Department of Justice
                     Torts Branch, Civil Division
                     P.O. Box 14271
                     Washington, DC 20044-4271
                     Tel: (202) 616-4169
                     Fax: (202) 616-4314
                     E-mail: james.whitman@usdoj.gov

                     Attorneys for the United States




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